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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                           ******
UNITED STATES OF AMERICA,                          )              CRIMINAL N0: 01-40082
                                                   )
                                                   )              MINUTES OF COURT
                      Plaintiff,                   )
                                                   )
vs.                                                )              DATE:5/23/2011
Richard C. Rentfro,                                )
                                                   )
                                                   )
                                                   )
Defendant(s).                                      )

PRESENT: J. PHIL GILBERT, DISTRICT JUDGE
DEPUTY CLERK: K. Jane Reynolds                     COURT REPORTER: N/A
COUNSEL FOR PLAINTIFF(S) N/A
COUNSEL FOR DEFENDANT(S): N/A
MINUTE ORDER IN CHAMBERS: (X )
PROCEEDINGS:
TIME:
 This matter is before the court on the defendant’s Motion to Continue (doc. # 154).
 The Court has reviewed and considered the aforementioned motion and hereby GRANTS the
motion to continue.
  It is hereby ORDERED that this matter is STRICKEN from the 6/3/2011 docket and reset for
hearing on the Motion to Revoke on 6/28/2011 at 10:30 a.m. in Benton, IL.




                                                   NANCY ROSENSTENGEL, CLERK

                                                   By: s/ K. Jane Reynolds
                                                   Deputy Clerk
